  Case 1:20-cr-00305-LDH Document 45 Filed 03/04/21 Page 1 of 7 PageID #: 123

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                                                                     ★     MAR 04 2021
CCC:MEM/JAM                                                                                    A
F. #2017R00509                                                       1-ONG ISLAND OFFICE
UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF NEW YORK
                                       X
                                                      SUPERSEDING
UNITED STATES OF AMERICA                              INDICTMENT


       - against -                                    Cr. No. 20-305 TS-IULDHJ
                                                      (T. I8,U.S.C.,§§924(c)(l)(A)(i),
KARL JORDAN,JR.,                                       9240)(1),2 and 3551           T. 21,
      also known as "Little D"                         U.S.C., §§ 841(a)(1), 841(b:(l)(A)(iii),
    and "Noid," and                                    841(b)(1)(C), 846 and 848(e)(1)(A))
RONALD WASHINGTON,
    also known as "Tinard,"

                        Defendants.


                                       X

THE GRAND JURY CHARGES:

                                       COUNT ONE
             (Murder of Jason Mizell While Engaged in Narcotics Trafficking)

              1.     On or about October 30,2002, within the Eastern District offew York

and elsewhere, the defendants KARL JORDAN,JR., also known as "Little D" and "Noid,"

and RONALD WASHINGTON,also known as "Tinard," together with others, wh le

engaged in an offense punishable under Section 841(b)(1)(A)of Title 21, United Si ates

Code,to wit: a conspiracy to distribute five kilograms or more of a mixture or substance

containing cocaine, a Schedule II controlled substance, did knowingly and intentiohally kill
Case 1:20-cr-00305-LDH Document 45 Filed 03/04/21 Page 2 of 7 PageID #: 124
Case 1:20-cr-00305-LDH Document 45 Filed 03/04/21 Page 3 of 7 PageID #: 125
Case 1:20-cr-00305-LDH Document 45 Filed 03/04/21 Page 4 of 7 PageID #: 126
Case 1:20-cr-00305-LDH Document 45 Filed 03/04/21 Page 5 of 7 PageID #: 127
Case 1:20-cr-00305-LDH Document 45 Filed 03/04/21 Page 6 of 7 PageID #: 128
Case 1:20-cr-00305-LDH Document 45 Filed 03/04/21 Page 7 of 7 PageID #: 129
